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                                                                                                CLOSED
                              U.S. District Court
                       Southern District of Florida (Miami)
              CRIMINAL DOCKET FOR CASE #: 1:22−mj−04089−LMR−1

   Case title: USA v. Easterday                                Date Filed: 12/09/2022

                                                               Date Terminated: 12/13/2022

   Assigned to: Magistrate Judge Lisette M.
   Reid

   Defendant (1)
   Isreal James Easterday                     represented by Frank Schwartz
   07750−506                                                 Frank Schwartz, P.A.
   YOB 2001 ENGLISH                                          100 N. Biscayne Blvd.
   TERMINATED: 12/13/2022                                    Suite 1300
                                                             Miami
                                                             Miami, FL 33132
                                                             305−379−5661
                                                             Fax: 379−5687
                                                             Email: frank@fschwartzlaw.net
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Temporary

                                                            Michael Perry Mirer
                                                            Law Office of Michael Mirer, P.A.
                                                            100 North Biscayne Boulevard
                                                            Suite 1300
                                                            Miami, FL 33132
                                                            305−536−6177
                                                            Fax: 536−6179
                                                            Email: michael@mirerlaw.com
                                                            TERMINATED: 12/13/2022
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Temporary

   Pending Counts                                           Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                                        Disposition


                                                                                                         1
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   None

   Highest Offense Level (Terminated)
   None

   Complaints                                                  Disposition
   WARRANT/COMPLAINT/DC/CIVIL
   DISORDER, ASSAULTING,
   RESISTING OR IMPEDING CERTAIN
   OFFICERS USING A DANGEROUS
   WEAPON OR INFLICTING BODILY
   INJURY



   Plaintiff
   USA                                            represented by Noticing AUSA CR TP/SR
                                                                 Email: Usafls.transferprob@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Retained

    Date Filed   # Page Docket Text
    12/09/2022   1        Magistrate Judge Removal of Complaint from District of Columbia Case number
                          in the other District 1:22−mj−00264 as to Isreal James Easterday (1). (dgj)
                          (Entered: 12/12/2022)
    12/09/2022   2        Minute Order for proceedings held before Magistrate Judge Lisette M. Reid:
                          Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Isreal James
                          Easterday held on 12/9/2022. Date of Arrest or Surrender: 12/8/22. TEMP PTD (
                          Detention Hearing set for 12/13/2022 10:00 AM in Miami Division before MIA
                          Duty Magistrate Judge., Removal Hearing set for 12/13/2022 10:00 AM in Miami
                          Division before MIA Duty Magistrate Judge., Report Re: Counsel Hearing set for
                          12/13/2022 10:00 AM in Miami Division before MIA Duty Magistrate Judge.).
                          Attorney added: Michael Perry Mirer, Frank Schwartz for Isreal James Easterday
                          (Digital 14:02:50/14:14:08)

                          It is ORDERED AND ADJUDGED that pursuant to the Due Process Protections
                          Act, the Court confirms the United States obligation to disclose to the defendant
                          all exculpatory evidence− that is, evidence that favors the defendant or casts
                          doubt on the United States case, as required by Brady v. Maryland, 373 U.S. 83
                          (1963) and its progeny, and ORDERS the United States to do so. The government
                          has a duty to disclose any evidence that goes to negating the defendants guilt, the
                          credibility of a witness, or that would reduce a potential sentence. The defendant
                          is entitled to this information without a request. Failure to disclose exculpatory
                          evidence in a timely manner may result in consequences, including, but not
                          limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,
                          contempt proceedings, disciplinary action, or sanctions by the Court. Signed by
                          Magistrate Judge Lisette M. Reid on 12/9/2022. (dgj) (Entered: 12/12/2022)


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    12/09/2022   3    NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Michael Perry Mirer
                      appearing for Isreal James Easterday (dgj) (Entered: 12/12/2022)
    12/09/2022   4    NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Frank Schwartz
                      appearing for Isreal James Easterday (dgj) (Entered: 12/12/2022)
    12/13/2022   6    WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Isreal James Easterday (jbs)
                      (Entered: 12/16/2022)
    12/13/2022   7    COMMITMENT TO ANOTHER DISTRICT as to Isreal James Easterday.
                      Defendant committed to District of Columbia. Closing Case for Defendant.
                      Signed by Magistrate Judge Alicia M. Otazo−Reyes on 12/13/2022. See attached
                      document for full details. (jbs) (Entered: 12/16/2022)
    12/13/2022   8    Minute Order for proceedings held before Magistrate Judge Alicia M.
                      Otazo−Reyes: Detention Hearing as to Isreal James Easterday held on
                      12/13/2022. Witness S/A FBI Andrew Martin and Mark Detweiler sworn and
                      testified. Bond recommendation/set: Isreal James Easterday (1) PTD. Report Re:
                      Counsel Hearing and Status Conference Re: Removal as to Isreal James
                      Easterday held on 12/13/2022. Defendant waived removal and ordered removed
                      to the District of Columbia. Attorney Michael Perry Mirer terminated in case as
                      to Isreal James Easterday. (Digital 10:11:47) Signed by Magistrate Judge Alicia
                      M. Otazo−Reyes on 12/13/2022. (jbs) (Entered: 12/16/2022)
    12/15/2022   5    ORDER OF DETENTION as to Isreal James Easterday. Signed by Magistrate
                      Judge Alicia M. Otazo−Reyes on 12/15/2022. See attached document for full
                      details. (aa00) (Entered: 12/15/2022)




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AO 442 (Rev. 11/11) Arrest Warrant
                                                                                                                                   Dec 9, 2022


                                         UNITED STATES DISTRICT COURT                                                                      Miami




                                                                       for the

                                                             District of&ROXPELD

                  United States of America
                             v.                                           )
                                                                          )         Case No.
                   Isreal James Easterday
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                            Defendant


                                                         ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                               Isreal James Easterday                                               ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment             u Information           u Superseding Information               ;
                                                                                                                               u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition               u Violation Notice          u Order of the Court

This offense is briefly described as follows:
18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury
18 U.S.C. § 231(a)(3)- Civil Disorder
18 U.S.C. § 1752(a)(1) and (b)(1)(A)- Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building



Date:          12/02/2022
                                                                                                   Issuing Officer’s signature

City and state:                      :DVKLQJWRQ'&                                  Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                      Printed name and title


                                                                       Return

           This warrant was received on (date)                                 , and the person was arrested on (date)
at (city and state)                                                .

Date:
                                                                                                   Arresting officer’s signature



                                                                                                      Printed name and title



                                                                                                                                                   4
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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                       for the
                                                              District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
                                                                           )       Case No.
                  Isreal James Easterday                                   )
                      DOB: 3/8/2001                                        )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021                    in the county of                                             in the
                         LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:
             Code Section                                                             Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury
        18 U.S.C. § 231(a)(3)- Civil Disorder
        18 U.S.C. § 1752(a)(1) and (b)(1)(A)- Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                         Issuing Officer’s signature

                                                                                                Andrew Martin, Special Agent
                                                                                                          Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             12/02/2022
                                                                                                            Judge’s signature

City and state:                         :DVKLQJWRQ'&                                  Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                          Printed name and title



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                                  STATEMENT OF FACTS
          I, the affiant, Andrew Martin, am a Special Agent with the Federal Bureau of
  Investigation (FBI) and have been so employed since July 2018. My duties, responsibilities, and
  training as a Special Agent with the FBI include investigating violations of federal law. I have
  been involved in the execution of search and arrest warrants. I am assigned to the FBI’s Joint
  Terrorism Task Force (JTTF) and have experience investigating national security threats, to
  include international terrorism and domestic terrorism. I am authorized to investigate violations
  of the laws of the United States and to execute warrants issued under the authority of the United
  States.
         The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
  the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
  Capitol Police. Only authorized people with appropriate identification are allowed access inside
  the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to
  members of the public.
          On January 6, 2021, a joint session of the United States Congress convened at the United
  States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
  elected members of the United States House of Representatives and the United States Senate
  were meeting in separate chambers of the United States Capitol to certify the vote count of the
  Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
  The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
  p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
  Vice President Mike Pence was present and presiding, first in the joint session, and then in the
  Senate chamber.
          As the proceedings continued in both the House and the Senate, and with Vice President
  Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
  Capitol. As noted above, temporary and permanent barricades were in place around the exterior
  of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
  crowd away from the Capitol building and the proceedings underway inside.
          At such time, the certification proceedings were still underway, and the exterior doors
  and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
  Police attempted to maintain order and keep the crowd from entering the Capitol; however,
  around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
  breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
  encouraged and assisted those acts.
          Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
  Representatives and United States Senate, including the President of the Senate, Vice President
  Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
  of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
  President Pence remained in the United States Capitol from the time he was evacuated from the
  Senate Chamber until the sessions resumed.

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                                           Facts Specific to this Case
          During national news coverage of the aforementioned events, video footage which
  appeared to be captured on mobile devices of persons present on the scene depicted evidence of
  hundreds of individuals inside the U.S. Capitol building without authority to be there, in
  violation of federal laws. Photographs and videos of several of these persons were disseminated
  via social media and other open-source online platforms and were also highlighted by the FBI on
  its public website as persons of interest. Those persons included a male wearing a gray t-shirt,
  dark brown leather jacket, and—at times—a black beanie with the logo “I TRUMP.” A FBI
  bulletin seeking information about this individual, among others, is shown below; in the
  photograph, the individual (circled in yellow) is not wearing the beanie.




                                             FBI BOLO 175 and 175

         Law enforcement has determined that there is probable cause to believe that this
  individual is ISRAEL JAMES EASTERDAY (“EASTERDAY”), based on, among other things,
  an identification provided by a law enforcement officer in Kentucky who has observed
  EASTERDAY personally and viewed photographs of the individual from the U.S. Capitol
  building and grounds on January 6, 2021, as described further below.

          Information obtained about EASTERDAY in relation to the riot at the U.S. Capitol on
  January 6, 2021, includes the following: In an approximately nine minute long clip from
  publicly available video viewed by the affiant (“YouTube Video 1”), EASTERDAY is shown
  with a group of rioters outside the East Rotunda door from approximately 2:17 pm to 2:26 pm. 1

  1
           This video clip was introduced as Government Exhibit 512.01 at trial in United States v. John Strand, 21
  Cr. 85 (D.D.C.).


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  YouTube Video 1 does not contain time stamps but the time in YouTube Video 1 can be
  approximated because it shows the breach of the East Rotunda door at the end of the clip, and I
  know from time-stamped CCTV video that this breach occurred at approximately 2:26 pm.

          In the scene shown in YouTube Video 1, a large group of rioters were congregated
  outside the East Rotunda door, and some of the rioters had broken its windows using, among
  other things, flag poles to smash the glass. USCP Officer 1 and other police officers were trying
  to prevent the rioters from breaching the door and entering the Capitol Building. In a still image
  taken from YouTube Video 1, EASTERDAY (circled in yellow) is shown in Image 1 below
  wearing a black beanie, carrying a confederate flag and participating with the group of rioters
  trying to enter the East Rotunda door:




                                                 Image 1

          As shown in YouTube Video 1, EASTERDAY approached a group of police officers,
  including USCP Officer 1, and appeared to put down the confederate flag. A moment later,
  EASTERDAY (circled in yellow) pointed what appears to be some sort of bottle at USCP
  Officer 1 (circled in blue) and sprayed him with what appears to be a chemical irritant (circled in
  red), as shown in Image 2 below.




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                                                 Image 2

          USCP Officer 1 has described to law enforcement, in sum and substance, that he believed
  he was sprayed with mace; that the irritant that sprayed him was different from the pepper spray
  used by the United States Capitol Police; that the irritant got in his eyes and caused him pain.
  Image 3 below, captured approximately two seconds after Image 2 above, shows USCP Officer 1
  (circled in blue) turning away from EASTERDAY in reaction to being sprayed.




                                                 Image 3

          USCP Officer 1 has viewed YouTube Video 1 and stated that the incident in which he
  recalls being assaulted with a chemical irritant by a rioter outside the East Rotunda door on
  January 6 is the incident shown on YouTube Video 1 described above.

          Further, based on my training and experience and the experience of other officers, I know
  that chemical irritants such as mace, oleoresin capsicum spray (known as “OC spray”) and
  others, are decapacitating, and they have a high potential to negatively affect an officer’s ability
  to perform their official duties.

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          On April 21, 2022, FBI Bowling Green Resident Agency (BGRA) was notified by the
  FBI Washington Field Office (WFO) of a previously unidentified subject believed to be
  EASTERDAY. WFO believed the subject to be EASTERDAY based on, among other things,
  information showing that a Google account associated with EASTERDAY was located inside or
  near the U.S. Capitol Building on January 6, 2021. Specifically, FBI submitted EASTERDAY’s
  identifiers to the FBI’s “geofence” database, which contains data of cellular activity around the
  U.S. Capitol Building during the riot on January 6, 2021. The geofence database returned
  positive results for a Google ID number ending in 2668, and further showed that this Google ID
  number is associated with EASTERDAY’s name and a billing address that matches the address
  on EASTERDAY’s Kentucky driver’s license. Law enforcement also compared EASTERDAY’s
  Kentucky driver’s license photo to images of EASTERDAY from the U.S. Capitol and it appears
  that they show the same person.

         FBI used analytical tools and searched publicly available materials to obtain Images 4
  and 5 below, in which the individual believed to be EASTERDAY is wearing the same hat as the
  individual believed to be EASTERDAY shown in the videos of January 6 and similarly holding
  a confederate flag: 2




             Image 4                                                          Image 5

          FBI obtained additional photos and video that matched EASTERDAY from a database of
  photos and videos related to the riots that occurred at the Capitol on January 6, 2021. This
  information showed the individual believed to be EASTERDAY inside the U.S. Capitol among
  other rioters during the riot on January 6, 2021, both at times when he was wearing his black “I
     TRUMP” hat and when he was not.




  2
         Image 4 is an image made by magnifying the subject’s face as shown in Image 5.


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          Images 6, 7 and 8 below are from CCTV video that identifies EASTERDAY’s time and
  location within the Capitol. Image 6 shows EASTERDAY entering the U.S. Capitol through the
  East Rotunda Door at approximately 2:39 p.m., within approximately 13 minutes of the initial
  breach of the East Rotunda door.




                                            Image 6

         Image 7 shows EASTERDAY, a few seconds later, pulling other rioters into the U.S.
  Capitol through the door:




                                            Image 7

                                               6


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         Image 8 below shows EASTERDAY a few minutes later, at approximately 2:41 p.m.,
  entering an area of the Capitol Building known as the Gallery Stairs.




                                          Image 8

        Additional images show EASTERDAY both inside and outside the U.S. Capitol:




                    Image 9                                    Image 10




                                             7


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                                                  Image 11

          After being in the Gallery Stairs area of the U.S. Capitol at approximately 2:42 p.m. as
   shown in Image 11, EASTERDAY returned downstairs to the area from which he entered.
   CCTV video shows EASTERDAY approaching the East Rotunda door to exit the U.S. Capitol at
   approximately 2:51 p.m.

           On April 25, 2022, your affiant interviewed a law enforcement officer at the Hart County
   Sheriff’s Office in Munfordville, Kentucky (“HCSO Officer 1”). Hart County, Kentucky is the
   county where EASTERDAY’s address is listed in Kentucky Department of Motor Vehicles
   records. Images 4, 5, 9, 10, and 11 were presented to HCSO Officer 1 for the purpose of
   identification. HCSO Officer 1 was presented the photos with no name associated and asked if
   the individual or individuals in the photos were known to the officer. HSCO Officer 1
   immediately identified EASTERDAY as the subject in all photos. HCSO Officer 1 informed
   your affiant that he or she is personally familiar with EASTERDAY.

            Based on the foregoing, I submit that there is probable cause to believe that
   EASTERDAY violated 18 U.S.C. §§111(a)(1), (b), and 2, which make it a crime to forcibly
   assault, resist, oppose, impede, intimidate, or interfere with certain designated individuals, and to
   use a deadly or dangerous weapon or inflict bodily injury during the commission of such acts, or
   to aid, abet, counsel, command, induce, or procure the commission of such offenses. Within the
   meaning of this statute, a designated individual is an officer or employee of the United States or
   of any agency in a branch of the United States Government (including any member of the
   uniformed services), while such officer or employee is engaged in or on account of the
   performance of official duties, or any person assisting such an officer in the performance of
   official duties or on account of that assistance.

          I submit that there is also probable cause to believe that EASTERDAY violated 18
   U.S.C. §§ 231(a)(3) and 2, which makes it unlawful to commit or attempt to commit any act to
   obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
   the lawful performance of his official duties incident to and during the commission of a civil
   disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
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   movement of any article or commodity in commerce or the conduct or performance of any
   federally protected function, operation, or action carried out, under the laws of the United States,
   by any department, agency, or instrumentality of the United States or by an officer or employee
   thereof. This includes the Joint Session of Congress where the Senate and House count Electoral
   College votes.

           I further submit that there is probable cause to believe that EASTERDAY violated 18
   U.S.C. §§ 1752(a)(1), (2), and (4), (b)(1)(A), and 2, which make it a crime to (1) knowingly
   enter or remain in any restricted building or grounds without lawful authority to do; (2)
   knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
   official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
   restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
   orderly conduct of Government business or official functions; or attempts or conspires to do so;
   (4) knowingly engage in any act of physical violence against any person or property in any
   restricted building or grounds; or attempt or conspire to do so; and (b)(1)(A) to commit any of
   the aforementioned offenses with a deadly or dangerous weapon or firearm; or to aid, abet,
   counsel, command, induce, or procure the commission of such offenses. For purposes of Section
   1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
   area of a building or grounds where the President or other person protected by the Secret Service,
   including the Vice President, is or will be temporarily visiting; or any building or grounds so
   restricted in conjunction with an event designated as a special event of national significance.

           Finally, I submit that there also is probable cause to believe that EASTERDAY violated
   40 U.S.C. §§ 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter
   loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
   place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
   disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
   conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
   either House of Congress; and (F) engage in any act of physical violence in the Grounds or any
   of the Capitol Buildings.



                                                 _________________________________
                                                 Special Agent Andrew Martin
                                                 FEDERAL BUREAU OF INVESTIGATION


           Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
   by telephone, this _____
                       2nd day of December 2022.



                                                 ___________________________________
                                                 THE HONORABLE ZIA M. FARUQUI
                                                 U.S. MAGISTRATE JUDGE

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                                                                              M agistrate Judge Lisette M arie Reid
                                                  AtkinsBuildingCourthouse-3rdFloor                                              Date:12/9/2022 Time:2:00p.m.
                 Defendant: ISREALJAM ES EASTERDAY                                        J#:07750-506         Case #: 22-M J-04089-REID
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-mj-04089-LMR

   UNITED STATES OF AMERICA

   v.

   ISREAL EASTERDAY,

        Defendant.
   __________________________________/

                                      ORDER OF DETENTION

          On December 13, 2022, this Court held a hearing pursuant to 18 U.S.C. § 3142(f) to

   determine whether Defendant Isreal Easterday (“Easterday”) should be detained pending trial.

          Having considered the evidence presented at the pre-trial detention hearing, the pre-trial

   services report, and the factors enumerated in 18 U.S.C. § 3142(g), the Court finds by clear and

   convincing evidence that there is no condition or combination of conditions that will reasonably

   assure the safety of any other person and the community if Easterday is released on bond.

   Therefore, the Court orders the detention of Easterday prior to and until the conclusion of trial.

          In accordance with the provisions of 18 U.S.C. 3142(i)(l), the Court makes the following

   findings of fact and statement of reasons for the detention:

          1.      The charges against Easterday are serious. Easterday is charged by criminal

   complaint with the following offenses: assaulting, resisting, or impeding an officer using a

   dangerous weapon or inflicting bodily injury in violation of 18 U.S.C. §§ 111(a)(1) and (b); civil

   disorder in violation of 18 U.S.C. § 231(a)(3); entering and remaining in a restricted building or

   grounds with a deadly or dangerous weapon in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A);

   disorderly and disruptive conduct in a restricted building or grounds in violation of 18 U.S.C. §

   1752(a)(2); engaging in physical violence in a restricted building or grounds in violation of 18



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   U.S.C. § 1752(a)(4); and disorderly conduct in a Capitol building in violation of 40 U.S.C. §

   5104(e)(2)(D).

          2.        The weight of the government’s evidence is substantial. The government proffered

   the following evidence at the detention hearing:

                    a. Easterday participated in the riot at the United States Capitol on January 6,

                       2021. Specifically, Easterday was part of a group of rioters that attempted to

                       breach the East Rotunda Door to the Capitol Building at a time when United

                       States Capitol Police Officers, who were greatly outnumbered by the rioters,

                       tried to prevent the rioters from breaching the Capitol.

                    b. A publicly available video described by FBI Special Agent Andrew Martin

                       shows that, during that confrontation, Easterday intentionally sprayed a Capitol

                       Police officer with mace or some form of chemical irritant. The victim officer

                       has previously testified, in another case, to the pain that this assault inflicted

                       upon him while he was trying to perform his duties to protect the Capitol.

                    c. Shortly after this incident, this group of rioters, including Easterday, succeeded

                       in breaching the United States Capitol through the East Rotunda door.

          3.        If convicted, Easterday faces a significant amount of time in prison, with the

   government estimating a sentencing guideline range of 87 to 108 months, including anticipated

   enhancements.

          4.        In light of Easterday’s documented intentional attack on a law enforcement officer

   protecting the United States Capitol with a chemical substance that caused him pain and irritation

   and his subsequent breach, with other rioters, of the United States Capitol notwithstanding efforts

   of Capitol Police Officers to protect the premises, the Court concludes that Easterday has exhibited

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   a callous disregard for the safety and well-being of law enforcement officers and the integrity of

   federal property. Accordingly, the Court finds by clear and convincing evidence that no condition

   or combination of conditions will reasonably assure the safety of any other person and the

   community if Easterday is released on bond.

          5.      For these reasons, the Court hereby directs that:

                  a. Easterday be detained without bond;

                  b. Easterday be committed to the custody of the Attorney General for confinement

                     in a corrections facility separate, to the extent practical, from persons awaiting

                     or serving sentences or being held in custody pending appeal;

                  c. Easterday be afforded reasonable opportunity for private consultation with

                     counsel; and

                  d. On order of a court of the United States or on request of an attorney for the

                     government, the person in charge of the corrections facility in which Easterday

                     is confined shall deliver him to a United States Marshal for the purpose of an

                     appearance in connection with a court proceeding.

          DONE AND ORDERED in Miami, Florida, this 15th day of December, 2022.


                                                 ____________________________________
                                                 ALICIA M. OTAZO-REYES
                                                 UNITED STATES MAGISTRATE JUDGE


   cc:    Counsel of Record
          Pretrial Services
          U.S. Marshals Service




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  UNITED STATESQFAMERICY,

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                                                      AliciaM .sotazoaRey
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                                                     COURT MINUTES                                                                    Page 2

                                 Magistrate Judge Alicia M. Otazo-Reyes
                      Atkins Building Courthouse - 10th Floor                                Date: 12/13/2022 Time : 10:00 a.m.
Defendant: Isreal James Easterday                    J#: 07750-506 Case#: 22-04089-MJ-REID
AUSA:     7h. tJ(
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Violation:        WARR/COMPLAINT/ DC/CIVIL DISORDER, ASSAULTING, RESISTING OR IMPENDING CERTAIN




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 lr l Random urine testing by Pretrial Services
         Treatment as deemed necessary

 (r l Refrain from excessive use of alcohol
 lr l Participate in mental health assessment & treatment
 (r l Maintain or seek full-time employment/education
 Ir l No contact with victims/witnesses
 (r l No firearms
 (r ! Not to encumber property
 (r l May not visit transportation establishments
 Ir l Home Confinement/Electronic Monitoring and/or
         Curfew _ _ _ _ pmto _ _ _ am,paidby _ _ _ __
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NEXT COURT APPEARANCE          Date:                 Time:                Judge:

Report RE Counsel:     -   -   - - -- - - - --               -   ---------;,1,;,1--1,;.~       =.:....::=--~.;._.i:;.-:1-{7'c-'c-l-\-~.....;_~ -

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